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SOUTHERN DISTRICT OFOHIO so, pw a0
WESTERNDIVISIONATDAYTON POP LAZ+PH. 2326
HICHAEL R. MERZ

IN THE MATTER OF THE APPLICATION Has othe TRATE “KINGE
OF THE UNITED STATES OF AMERICA AFFIDAVIT

FOR A WARRANT AUTHORIZING THE

INSTALLATION AND MONITORING OF

A TRACKING DEVICE IN OR ON A 2-DOOR 2005

CHEVORLET COBALT, ORANGE IN COLOR

BEARING OHIO LICENSE PLATE NUMBER

FSY-8551, VEHICLE IDENTIFICATION

NUMBER 1G1AL12F957623479

I, Todd H. Burkart, Special Agent, Federal Bureau of Investigation (“Affiant”), being
duly sworn, herby depose and say:

INTRODUCTION

1. I am a Special Agent with the United States Department of Justice, Federal
Bureau of Investigation (“FBI”).

2. I have been employed as a Special Agent with the FBI since 2004 and am
currently assigned to the FBI resident office in Dayton, Ohio. Prior to my employment with the
FBI, I was employed as a Special Agent with the Drug Enforcement Administration (“DEA”)
from 1999 to 2004. During my time as a law enforcement officer, I have participated in
numerous investigations that have resulted in the execution of Federal search warrants and arrest
warrants; the seizure of firearms, narcotics, and related contraband; as well the seizure of
proceeds directly related to the violation of Federal laws. In connection with my official duties
as a Special Agent, I currently investigate violations of federal criminal laws, including offenses
involving wire and mail fraud, public corruption, and money laundering.

3. The facts in this Affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses, including from the Ohio
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Organized Crime Investigative (“OOCIC”) Task Force and other law enforcement officers
involved in this investigation. This Affidavit is intended to show merely that there is sufficient
probable cause for the requested warrant and does not set forth all of my knowledge about this
matter.
PURPOSE OF AFFIDAVIT

4. This affidavit is in support of a warrant authorizing the installation and use of a
GPS tracking device on a vehicle driven by WILLIS E. BLACKSHEAR SR
(“BLACKSHEAR”), described as an orange 2-door 2005 Chevrolet Cobalt (according to open
source databases, Chevrolet replaced the Cavalier with the Cobalt in 2005), further identified by
VIN 1G1AL12F957623479 and Ohio License Plate FSY-8551 (“SUBJECT VEHICLE”). The
SUBJECT VEHICLE was initially believed to be a Chevrolet Cavalier and later determined to
be a Chevrolet Cobalt. Subsequent references to a “Cavalier” in this Affidavit are referring to
the SUBJECT VEHICLE. According to the Ohio Law Enforcement Gateway (“OHLEG”)
database, the only orange Chevrolet currently registered to BLACKSHEAR is the SUBJECT
VEHICLE. Based on our investigation to date (as detailed below), I believe there is probable
cause to believe that the SUBJECT VEHICLE driven by BLACKSHEAR is presently being
used in furtherance of violations of federal law, including bribery concerning programs receiving
Federal funds, in violation of 18 U.S.C. § 666.

5. Affiant further states that there is probable cause to believe that the installation of
a tracking device in or on the SUBJECT VEHICLE, and use of the tracking device, will lead to
evidence of a crime, contraband, fruits of crime and instrumentalities of the aforementioned
crimes as well as to the identification of additional individuals who are engaged in the

commission of those related crimes.
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FACTS ESTABLISHING PROBABLE CAUSE

6. In January 2013, the FBI opened an investigation based in part on allegations that
STEVE RAUCH (“RAUCH”), owner of STEVER RAUCH INCORPORATED (“SRI”), a
Dayton-based demolition company, bribed state and local politicians in exchange for federally
funded demolition contracts in and around the City of Dayton.

7. In April 2013, a former SRI Project Manager (hereafter referred to as Confidential

Human Source One “CHS-1”) was interviewed. CHS-1 stated that former Dayton Mayor
RHINE MCLIN (“MCLIN”) and RAUCH had a “tight” relationship and CHS-1 often heard
jokes about them being “together.” CHS-1 saw pictures of RAUCH and MCLIN together in
RAUCH’S office as well as gifts from MCLIN. RAUCH often threatened to “call the Mayor”
when he faced issues on Dayton projects. CHS-1 also heard RAUCH state, “I’m going to call
the Mayor” on multiple occasions when RAUCH thought SRI wasn’t the lowest bidder and
therefore unlikely to get a demolition contract. CHS-1 recalled a City of Dayton federally
funded demolition contract in excess of $1 million issued to one of SRI’s competitors. RAUCH
told CHS-1 the competitor had the lowest bid, but failed to meet the city of Dayton’s minority
subcontractor requirement. The City of Dayton subsequently reassigned the contract to SRI,
which CHS-1 suspected occurred because of RAUCH’S relationship with MCLIN rather than the
minority subcontractor requirement.

8. In July 2013, a former project estimator and manager (hereinafter referred to a
Confidential Human Source Two “CHS-2”) of a now defunct demolition company that directly
competed with SRI was interviewed. CHS-2 stated that he began bidding on federally funded
demolition projects from the City of Dayton in approximately 2009. At the time, SRI did the

majority of demolition work for Dayton and it was "very hard to compete" with them in the
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bidding process. CHS-2 heard then Dayton Mayor RHINE MCCLIN was RAUCH'S girlfriend
at the time. CHS-2 suspected MCCLIN used her influence to ensure RAUCH obtained federally
funded demolition contracts because SRI won virtually all bids.

9. In August 2013, a second former SRI Project Manager (hereafter referred to as
Confidential Human Source Three “CHS-3”) recorded a meeting with DAN FEUCHT
(“FEUCHT”), SRI’s current controller, During their conversation, FEUCHT stated RAUCH
gave MCLIN a “shit ton” of money while she was the Mayor of Dayton. FEUCHT continued
that MCLIN used an individual (later identified by FEUCHT as two individuals with one being
the current Montgomery County Recorder, WILLIS BLACKSHEAR SR) to pick up the money
at SRI’s headquarters once every few weeks, “‘so she [MCLIN] didn’t have to ever touch it.”
While MCLIN was mayor, FEUCHT estimated that RAUCH gave her $100,000 a year.

FEUCHT recalled specific occasions when RAUCH would order him to leave money out for
MCLIN as follows: “Steve would say, and you know, we need to get $10,000 in cash. So we
would get the money, put it in the envelope, seal the envelope, and put it on the front counter.
Steve ... front counter? You know this was at like 5:30 at night. You sure? And he goes, when
the door makes the noise. .. or... you know, you hear the bell...we used to have a bell on the
front door, and he goes, when you . .. when you hear the bell, he goes, let it go.”

10. In September 2013, CHS-3 placed an outgoing recorded telephone call to
FEUCHT. During a pertinent portion of the conversation, CHS-3 asked FEUCHT to name of the
individual who used to come to SRI and get money for MCLIN. FEUCHT reported that there
were two individuals, and identified one of them as BLACKSHEAR (the current Montgomery
County Recorder). FEUCHT continued that MCLIN used BLACKSHEAR to pick up her money

because he was not directly related to her office and, “she couldn’t come in herself.”, FEUCHT
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stated that BLACKSHEAR still comes into SRI’s headquarters and “Steve still pays his
campaign and gives him a little money.”

11. On September 21, 2013, the OOCIC Task Force conducted surveillance at the
Town and County Shopping Center, Kettering, Ohio. The surveillance was based on CHS-3
information that RAUCH was hosting an annual party and attending guests would park at the
Town and County Shopping Center before being bused to his residence. For approximately two
hours, agents photographed vehicles and individuals who arrived and were believed to be
attending the party. Upon reviewing the photographs, agents observed the SUBJECT
VEHICLE parked in the lot (see attached photograph).

12. In October 2013, CHS-3 placed an outgoing recorded telephone call to FEUCHT.
During a pertinent portion of the conversation, the CHS stated he/she was driving and observed
BLACKSHEAR driving an “orange Cavalier.” FEUCHT responded, “Yeah, yeah that’s what he
drives dude.” CHS-3 then asked FEUCHT if that is what BLACKSHEAR drives to get his
“little pay-offs.” FEUCHT responded, “ Uh-ha . . . that’s what he drives up here. Yeah, you’re
exactly right.” Later in the conversation, FEUCHT stated, “What he [BLACKSHEAR] does is
he acts as the intermediary, so NAN (current City of Dayton Commissioner and Mayor
Candidate NAN WHALEY) doesn’t have to come out here. You know, the City of Dayton
Commission doesn’t have to come out here. So he [BLACKSHEAR] does all the running. He
[BLACKSHEAR] comes out here and collects all the money.” Later CHS-3 asked if “even
NAN WHALEY is in on that deal?” FEUCHT responded, “Oh yeah. Very much so.” Later
FEUCHT continued, “He [BLACKSHEAR] comes in here in his little orange Cavalier and he

[BLACKSHEAR] takes the money to go to her [NAN WHALEY].”
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13. In May and July 2013, United States Magistrate Judge Sharon L. Ovington and
United States Magistrate Judge Michael R. Merz signed separate orders authorizing the FBI to
install and monitor a pen register for a cellular phone subscribed to and believed to be used by
RAUCH. An analysis of pen register data has revealed that the RAUCH’s cellular phone had
approximately 5 contacts with (937) 416-7953, approximately 2 contacts with (937) 263-5618,
and approximately 15 contacts with (937) 222-7978, between June 3, 2013 and August 9, 2013.
A review of Dayton Police Department MIS Database revealed that BLACKSHEAR filed a
property damage report on October 12, 2011. The report lists BLACKSHEAR’s daytime
telephone number as (937) 416-7953, home phone number as (937) 263-5618, and work number
as (937) 222-7978.

14. Based upon the information above, Affiant believes that there is probable cause to
believe that BLACKSHEAR is using the SUBJECT VEHICLE described above to pick-up and
deliver bribe payments from RAUCH to one or more current and former City of Dayton officials,
including members of the City of Dayton Commission, in violation of federal law. As such, the
use of a mobile tracking device would allow investigators to track the movement of the
SUBJECT VEHICLE which may provide evidence of his travel, places where meets with
individuals believed to receiving bribes from RAUCH, as well as potential other co-conspirators.

15. In order to track the movement of the SUBJECT VEHICLE effectively and to
decrease the chance of detection, Affiant seeks to place a mobile tracking device in or on the
SUBJECT VEHICLE while it is in the Southern District of Ohio. Because BLACKSHEAR
parks the SUBJECT VEHICLE in his driveway and potentially on other private property, it
may be necessary to enter onto private property in order to effect the installation, repair,

replacement, and removal of the tracking device. To ensure the safety of the executing officer(s)
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and to avoid premature disclosure of the investigation, it is requested that the court authorize
installation and removal of the tracking device during both daytime and nighttime hours. The
installation of the vehicle during daytime visibility may compromise the investigation.

16. In the event that the Court grants this application, there will be periodic
monitoring of the tracking device during both daytime and nighttime hours for a period of forty-
five (45) days following the issuance of the requested warrant. The tracking device may produce
signals from inside private garages or other such locations not open to the public or visual
surveillance.

17. It is requested that the warrant and accompanying affidavit and application in
support thereof, as they reveal an ongoing investigation, be sealed until further order of the Court
in order to avoid premature disclosure of the investigation, and better ensure the safety of agents
and others, except that copies of the warrant in full or redacted form may be maintained by the
United States Attorney’s Office, and may be served on Special Agents and other investigative
and law enforcement officers of OOCIC, federally deputized state and local law enforcement
officers, and other government and contract personnel acting under the supervision of such
investigative or law enforcement officers, as necessary to effectuate the warrant.

18. In accordance with 18 U.S.C. § 3103a(b) and Federal Rule of Criminal Procedure
41(f)(3), I request that the warrant delay notification of the execution of the warrant for a period
not to exceed 30 days after the end of the authorized period of tracking (including any extensions
thereof) because there is reasonable cause to believe that providing immediate notification would
seriously jeopardize the investigation.

WHEREFORE, your Affiant respectively requests that the Court issue a warrant

authorizing members of the FBI and OOCIC Task Force or their authorized representatives,
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including but not limited to other law enforcement agents and technicians assisting in the above-
described investigation, to install a tracking device in or on the SUBJECT VEHICLE within
the Southern District of Ohio within 10 calendar days of the issuance of the requested warrant,
and to remove said tracking device from the SUBJECT VEHICLE after the use of the tracking
device has ended; to enter private property to effect the installation, repair, replacement, and
removal of the tracking device; and to monitor the tracking device, for a period of 45 days
following the issuance of the requested warrant, including when the tracking device is inside
private garages and other locations not open to the public or visual surveillance, both within and

outside the Southern District of Ohio.

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Told H. Burk ‘
FBI SpetiaLAgent

Sworn to before me this 22" day of October, 2013

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Honorable Michael R: Merz \\< 5
United States Magistrate Judge — 7

      
 
 

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